                                              IN THE UNITED STATES DISTRICT COURT
                                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                                   CHARLOTTESVILLE DIVISION

                    CYNTHIA B. SCOTT, et al.,                 )
                                                              )
                             Plaintiffs,                      )
                                                              )
                    v.                                        )         Case No. 3:12-cv-36
                                                              )
                    HAROLD W. CLARKE, et al.,                 )
                                                              )
                               Defendants.                    )
                                                              )

                                                       NOTICE OF APPEAL

                             COME NOW Defendants Harold W. Clarke, A. David Robinson, Stephen Herrick, Eric

                    Aldridge, and Dr. Paul Targonski (collectively “Defendants”), by counsel, and appeal to the

                    United States Court of Appeals for the Fourth Circuit from (i) the Findings of Fact and

                    Conclusions of Law and Injunction Order entered in this action on January 2, 2019, ECF

                    Nos. 544 and 545, enforcing the parties’ Settlement Agreement and (ii) the Order entered

                    in this action on May 22, 2019, ECF No. 574, granting in part and denying part the parties’

                    cross-motions to alter or amend and altering and amending the Court’s January 2, 2019

                    Injunction Order.




                                                              Respectfully Submitted,

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Roanoke, Virginia
                                                              STEPHEN HERRICK, ERIC ALDRIDGE, AND
                                                              PAUL TARGONSKI, M.D.




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                                                     /s/
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                                                      CERTIFICATE OF SERVICE

                             I hereby certify that on June 20, 2019 I electronically filed the foregoing with the

                    Clerk of the Court using the CM/ECF system which will automatically send notification of

                    such filing to all counsel of record.


                                                                        /s/
                                                                              Of Counsel




 ATTORNEYS AT LAW
Roanoke, Virginia




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